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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

UNITED STATES OF AMERICA,                     Cause No. CR 14-96-GF-BMM

            Plaintiff,

      vs.                                                 ORDER

JOSHUA ALBERTO RODRIGUEZ,

            Defendant.


      On November 9, 2015, Defendant Rodriguez moved the Court to reduce his

sentence to reflect the reduction of drug offenders’ sentences under Amendment

782 to the United States Sentencing Guidelines. See U.S.S.G. App. C Supp.

Amendments 782, 788 (eff. Nov. 1, 2014); 18 U.S.C. § 3582(c)(2). Rodriguez was

sentenced on June 18, 2015, months after Amendment 782 went into effect. See

Presentence Report ¶ 66; U.S.S.G. § 2D1.1(c) (eff. Nov. 1, 2014). Because he was

sentenced with benefit of the amendment, his motion is frivolous.


      Accordingly, IT IS HEREBY ORDERED that Rodriguez’s motion to reduce

his sentence (Doc. 804) is DENIED.

      DATED this 16th day of November, 2015.


                                       Brian M. Morris
                                      Brian M. Morris
                                      United States District Court
